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UNITED sT_ATEs histch coURT a
FOR THE NoRTHERN DISTRJCT. oF ILLINOIS
EAs-TERN DIVISION

 

`JEFFREY _PORTER, on his own behalf and

y VCase N_o. 07_ CV 4446
c_)n behalf o_f all others similarly sitilated,

Plaintiff,
Judge Joan H..Lef-kow
Vs. Magistrate Judge Dénlow
EVANST<)N NoRTHWESTERN
I-IEALTI-ICARE CORPORATION,
f Defendant. \
Consolidate'd With.:

 

AMIT BERKOWITZ, individually and on'
behalf of all others similarly situated,

Plaintiff, Case No. 07 CV 4523_

VS.

EVANSTON NORTHWESTERN
I-IEALTHCARE CORPORATION,

- I)efendant.
m
individually and on behalf of all others
similarly situated,

Case No. 07 CV 5275

Plaintiffs,
vs.

EVANSTON NORTHWESTERN
' HEALTHCARE CORPORATION,

Defendant

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PRETRIAL ORDER NO. 1 REGARD_ING
CONSOLIDATI_ON AND MANAGEMENT _OF 1 ITIG`ATION

 

   

WHER.EAS, Plaintiff`s 'Jef&ey Porter (who has since BIed a iroluntaiy notice of
dismissal), Amit Berkowitz and Gerald and Noreen Lekas have filed complaints (the
“Coniplaints”) in the above- referenced actions for alleged violations of the antitrust laws by
Evanston Northwestern Healthcare Corp`oration (“Defendant”) pursuant to Section 2 ' of the
Sherman Act, 15 U.S.C.'§ 2 and _Section 7 ofthe Clayton Act, 15 U._S.C. § 18.

WHEREAS, Pla:intiff`s seek to proceed on behalf of two proposed classes of patients who
paid for services at Evanstonl Northwestern Healthcare Corpor_ation’_s hospitals including
Evanston Hospital, Highland Park H'ospital, and Glenb'rook I-lospital during the period from -
January'l, 2000 to the present;

WHEREAS, Plaintiffs have consented to the filing of a master consolidated amended
complaint including eachof them;

WHEREAS, consolidation of the Complaints and other like actions Will avoid
duplication and unnecessary costs, and will promote the efficient conduct of proceedings herein;

NOW, THEREFORE, THE COURT ORDERS:

I. PROCEDU.RES F_OR CAPTI.ON-ING. FILING AND DOCI(ETING

l. The clerk shall establish and maintain a Master Docket and_`Master File for this
proceeding under the caption “In re: Evanston Northwest'ern Healthcare Corporati-on
Antitrust Litigation,” Master .File No. 07 CV 4446. All orders, pleadings, motions and other '

documents, When filed and docketed in the Master File, will be deemed filed and docketed in

each individual~case.

 

 

 

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2. All papers hereafter filed in the Consolidated Action shall bear the 'caption"‘ln re:
Evanston Northwestem Healthcare Ccrporation Antitrust Litigation”.

3. Every pleading hereafter filed intl-ic Consolidated Action shall bear the following

caption:

UNITED S'I`ATES DISTRICT COU'RT
FOR THE NORTH-ERN' DIS'I`RICT OF ILLINOIS
EASTERN DIVISION

In re: Evanston Northwestern Healthcare)

 

 

Corporation Antitrust Litigation ) Master File No. 07 CV 4446
)
) Judge Joan H. Lefkow
) M`agistrate Judge
)
) _
n )
THI'S DOCUMENT RELATES TO: )
` )
All Actions )
)
4. When a pleading or paper is intended to be applicable to all actions to which this

1 Order is applicable, the Words c‘All Actions” shall appear immediately after the Words, “This
Document Relates To:” in the caption set out above. When a pleading or paper is intended to be
applicable only to some, but not all, of such actions, this Court’s docket number for each
individual action to which the pleading is intended to be applicable and the last name of the first

named plaintiff(s) in said action shall appear immediately after the Words “This Document

 

Relates To:” in the caption described above, i.e., “Civil Action No. 7 [Name of
plaintiff(s)].” -
5. When a pleading or paper is filed and the caption, pursuant to il 4, shows that it

applies to “All Actions,” the Clerk shall file such pleading or paper in the Master File and note

 

 

 

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such filing in the Master Docket.' No further copies need to be filed -or other docket entries
made.

6. When a pleading or paper is filed and the caption pursuant_to 11 _4, shows that it
applies to fewer than all of the Actions, the Clerk shall file such pleading or other paper only in y
the Master File but nonetheless shall note such filing in both the Master Docket and in the docket
of each such action. l

7. On the date of filing, or a soon thereafter as possible, a courtesy (paper) copy of
any electronically-filed document must be delivered to the Clerk’s Office drop-box next to the
north elevator bank on the 20"‘ Floor, OR to the drop-boil located outside the office of Judge
Lefkow’s Courtroom Deputy, Room 1932. Courtesy copies should not be delivered to
chambers and shall be designated “ludge Lefkow C'ou'rtesy Copy.”

II. CONSOLII)ATED COMPLAINT AND RESP()NSl-VE PLEADI-N.G

8. Upon the entry of this Order, the Complaints filed in Civil Action Nos. 07-cv-
04523 (ND lll.) and 07~cv-5275 (ND lll.) 'will be stayed until the filing of a Consolidated
Amended Cornplaint, at which point they Will be dismissed Without prejudice

9. Defendants shall have no obligation to answer, move or otherwise plead in
response to the Complaints.

l0, Plaintiffs shall file a Consolidated Amended Complaint on or before November
29, 200?. The Consolidated Amended Complaint shall be deemed Plaintiffs’ initial filing for
purposes ofFed. R. Civ. P. lS(a).

ll. Defendant_s shall answer, move or otherwise plead in response to the Consolidated

Arnended Complaint Within 20 days after the Consolidated Amended Complaint is filed.

III. SUBSEOUENTLY FILED RELATED ACTIONS

 

 

 

 

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l2. In the event that any party to this action seeks to have any other case that it
believes is related to this action and that is pending, subsequently filed, or transferred to the
Northern District of lllinois deemed to be a related case pursuant to Lccal Rule 40.4 and/or
consolidated with this action pursuant to Fed. R. Civ. Proc. 42, such party shall file an
appropriate motion with the court
IV. SERVICE OF PAPERS

13. Defendants shall affect service of papers on plaintiffs by serving a copy via
overnight courier, electronic mail, telecopy or hand»delivery on plaintiffs’ counsel,

14. Plaintiffs shall_a_ffect service of papers on Defendants by serving a copy via
overnight courier, electronic mail, telecopy or hand-delivery on Defendants’ counsel.

l5. With respect to any court filings made by a party through the court’s electronic
filing system (ECF), notice via ECF shall constitute service as to registered filers; however, a

courtesy copy shall also be served on all other parties of record via overnight courier, electronic

mail, telecopy and!or hand-delivery as appropriate

16. A status conference shall be held before this Court on £QV:\ l 2 2 , 2008,

at‘?: §§ a.m. in Courtroom 1925.

so canan this _jzz m{, day OrJanuary 2003:

/QM //-y~;QZ/¢se...__`_

Mited States District Judge
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